      Case 18-12947 Doc 15 Filed 11/07/18 Entered 11/07/18 23:32:02 Imaged Certificate of
                                      Notice Page 1 of 3
Information to identify the case:
Debtor 1              Helen J Drouillard                                                Social Security number or ITIN        xxx−xx−7106
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of Louisiana
                                                                                        Date case filed for chapter 7 11/4/18
Case number:          18−12947 Section A Office Code: 2


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Helen J Drouillard

2.      All other names used in the
        last 8 years

3.     Address                               18205 Monga Dr.
                                             Covington, LA 70433

4.     Debtor's attorney                     Rachel Thyre Anderson                                  Contact phone (985) 377−9271
                                             428 W. 21st Ave.
       Name and address                      Covington, LA 70433                                    Email: rachel@rachelandersonlaw.com

5.     Bankruptcy trustee                    David V. Adler                                         Contact phone (504) 834−5465
                                             Post Office Box 55129
       Name and address                      Metairie, LA 70055                                     Email: adler_d@bellsouth.net −−>
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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                                     Notice Page 2 of 3
Debtor Helen J Drouillard                                                                                                    Case number 18−12947


6. Bankruptcy clerk's office                    United States Bankruptcy Court                                 Hours open:
                                                Eastern District of Louisiana                                  8:30 − 4:30 Monday − Friday
    Documents in this case may be filed at this Hale Boggs Federal Building
    address. You may inspect all records filed 500 Poydras Street, Suite B−601                                 Contact phone (504) 589−7878
    in this case at this office or online at    New Orleans, LA 70130
    www.pacer.gov.
                                                                                                               Date: 11/4/18

7. Meeting of creditors                          December 13, 2018 at 01:00 PM                                 Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a later date. F. Edward Hebert Federal Bldg,
    questioned under oath. In a joint case,       If so, the date will be on the court docket.                   #111, 600 S. Maestri Street, New
    both spouses must attend. Creditors may At the meeting, the trustee may give oral notice of an
    attend, but are not required to do so.        intention to abandon estate property.                          Orleans, LA 70130
    Debtor(s) must provide picture identification and proof of social security number to the trustee. Debtor(s) must inform the court of any change of
    address as long as this case or any related adversary proceeding is pending. B. R. 4002. Failure to do so may result in dismissal of the case.
    NOTICE: FAILURE OF A DEBTOR TO ATTEND THE MEETING OF CREDITORS IS GROUNDS FOR IMMEDIATE DISMISSAL OF THIS BANKRUPTCY CASE BY THE
    COURT, WITHOUT FURTHER NOTICE TO THE DEBTOR, CREDITORS OR PARTIES OF INTEREST.



8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                  Filing deadline: 2/11/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                             Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as           conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.
    Financial Management Course:                 Certification About a Financial Management Course (Official Form 423) for individual chapter 7 debtor
                                                 due 60 day after first date set for the meeting of creditors.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2
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                                               United States Bankruptcy Court
                                               Eastern District of Louisiana
In re:                                                                                                     Case No. 18-12947-EWM
Helen J Drouillard                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 053L-2                  User: admin                        Page 1 of 1                          Date Rcvd: Nov 05, 2018
                                      Form ID: 309A                      Total Noticed: 20

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 07, 2018.
db             +Helen J Drouillard,    18205 Monga Dr.,    Covington, LA 70433-0330
tr             +David V. Adler,    Post Office Box 55129,    Metairie, LA 70055-5129
smg            +Collector of Revenue,    City of New Orleans,    Department of Finance,
                 1300 Perdido Street, RM 1W15,    New Orleans, LA 70112-2128
smg             Louisiana Department of Revenue,    Collection Division/Bankruptcy Section,    P. O. Box 66658,
                 Baton Rouge, LA 70896-6658
smg             U. S. Attorney’s Office,    Eastern District of Louisiana,    650 Poydras Street,   Suite 1600,
                 New Orleans, LA 70130-7212
3674578        +Choice Health Care,    515 Missouri Ave North,    Largo, FL 33770-1534
3674579        +Citimortgage,    PO Box 6243,   Sioux Falls, SD 57117-6243
3674580        +Fifth Third Bank,    5050 Kingsley Dr,    Cincinnati, OH 45227-1115
3674581        +Hon. Catherine Combee,    Polk County Courthouse,    255 N. Broadway Ave.,
                 Bartow, FL 33830-3912
3674582        +Honor Credit Union,    8385 Edgewood Dr.,    Berrien Springs, MI 49103-9004
3674584        +Mr. Cooper,    8950 Cypress Waters Blvd,    Coppell, TX 75019-4620
3674585         Northshore Redi-Med,    PO Box 54854,    New Orleans, LA 70154-4854
3674586        +Preferred Collection,    1000 N Ashley Dr #600,    Tampa, FL 33602-3723
3674587        +Thomas Guntle,    54092 84th Ave,   Decatur, MI 49045-9075

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: rachel@rachelandersonlaw.com Nov 05 2018 19:51:56      Rachel Thyre Anderson,
                 428 W. 21st Ave.,   Covington, LA 70433
smg            +E-mail/Text: bankruptcy_bpc@lwc.la.gov Nov 05 2018 19:52:07     Louisiana Workforce Commission,
                 UI Tax Liability and Adjudications,   Attn: Bankruptcy Unit,    1001 N. 23rd Street,
                 Baton Rouge, LA 70802-3338
ust            +E-mail/Text: ustpregion05.nr.ecf@usdoj.gov Nov 05 2018 19:52:02      Office of the U.S. Trustee,
                 400 Poydras Street,   Suite 2110,   New Orleans, LA 70130-3238
3674577        +E-mail/Text: flbkecf@brockandscott.com Nov 05 2018 19:52:09     Brock & Scott PLLC,
                 1501 NW 49th St, Suite 200,   Ft. Lauderdale, FL 33309-3723
3674583         EDI: IRS.COM Nov 06 2018 02:13:00     Internal Revenue Service,    PO Box 7346,
                 Philadelphia, PA 19101-7346
3674588        +E-mail/Text: Kmaynard-brooks@watsonclinic.com Nov 05 2018 19:52:10      Watson Clinic,
                 1600 Lakeland Hills Blvd,   Lakeland, FL 33805-3065
                                                                                             TOTAL: 6

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 07, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 4, 2018 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
